 

 

Case 3:21-cv-00028-DHB-BKE Document 28 Filed 10/22/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
DUBLIN DIVISION

SAMUEL LEWIS FOWLER,
Plaintiff,

v. CV 321-028
GEORGIA DEPARTMENT OF
CORRECTIONS; GEORGIA
CORRECTIONAL HEALTH CARE; DR.
SHARON LEWIS; BILLY NICHOLS;
WARDEN ANTOINE CALDWELL;
LAKISHA FRANKLIN; DEPUTY
WARDEN MEADOR; CHABARA
BRAGGS; DR. STEWART; DEANNE
MORRIS; MITZI HALL; NURSE PULLINS;
DR. BROWN; DR. AGEDOM;

CHERYL FRAZIER; UNIT MANAGER
WATSON; TOMEKA SIMPSON-DUMAS;
NURSE PRACTITIONER LOMAMI;
NURSE PRACTITIONER LINDSEY; and
NURSE PRACTITIONER OLIVER,

mee eee ee ee ae

Defendants.
ORDER

After a careful, de novo review of the file, the Court concurs with the Magistrate Judge’s
Report and Recommendation, to which no objections have been filed. Accordingly, the Court
ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion, DISMISSES
Plaintiff's complaint without prejudice, DENIES AS MOOT his motion to stay (doc. no. 14), and
CLOSES this civil action.

SO ORDERED this Khe ay of October, 2021, at Augusta, Georgia.

hd, Ploe2

UNITED STATES DISTRICT JUDGE

 
